
OPINION.
Marquette :
This proceeding is for the redetermination of a deficiency in income tax asserted by the respondent for the year 1924 in the amount of $375.99.
The record herein consists only of the pleadings and the petitioner’s income-tax return for the year 1924, which was introduced in evidence by the respondent. The record shows that the petitioner is a banking corporation organized under the laws of Mississippi, with its office and place of business, at Corinth; that in 1924 it became liable for state, county and municipal taxes, and that it did not pay them until 1925; that on its income-tax return for 1924 it deducted the amount of said taxes and that the respondent disallowed the deduction, since the petitioner’s books were kept on the basis of cash receipts and disbursements.
Judgment will be entered for the respondent.
